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May 7, 2014

The SEC’s Office of Investor Education and Advocacy is issuing this Investor Alert to make investors aware
about the potential risks of investments involving Bitcoin and other forms of virtual currency.

The rise of Bitcoin and other virtual and digital currencies creates new concerns for investors. A new
product, technology, or innovation – such as Bitcoin – has the potential to give rise both to frauds and high-
risk investment opportunities. Potential investors can be easily enticed with the promise of high returns
in a new investment space and also may be less skeptical when assessing something novel, new and
cutting-edge.

We previously issued an Investor Alert about the use of Bitcoin in the context of a Ponzi scheme. The
Financial Industry Regulatory Authority (FINRA) also recently issued an Investor Alert cautioning
investors about the risks of buying and using digital currency such as Bitcoin. In addition, the North
American Securities Administrators Association (NASAA) included digital currency on its list of the top 10
threats to investors for 2013.

What is Bitcoin?
Bitcoin has been described as a decentralized, peer-to-peer virtual currency that is used like money – it
can be exchanged for traditional currencies such as the U.S. dollar, or used to purchase goods or
services, usually online. Unlike traditional currencies, Bitcoin operates without central authority or banks and
is not backed by any government.


             IRS treats Bitcoin as property. The IRS recently issued guidance stating that it
             will treat virtual currencies, such as Bitcoin, as property for federal tax
             purposes. As a result, general tax principles that apply to property transactions
             apply to transactions using virtual currency.

If you are thinking about investing in a Bitcoin-related opportunity, here are some things you should
consider.

Investments involving Bitcoin may have a heightened risk of fraud.
Innovations and new technologies are often used by fraudsters to perpetrate fraudulent investment
schemes. Fraudsters may entice investors by touting a Bitcoin investment “opportunity” as a way to get into
this cutting-edge space, promising or guaranteeing high investment returns. Investors may find these
investment pitches hard to resist.


             Bitcoin Ponzi scheme. In July 2013, the SEC charged an individual for an
             alleged Bitcoin-related Ponzi scheme in SEC v. Shavers. The defendant
             advertised a Bitcoin “investment opportunity” in an online Bitcoin forum,
             promising investors up to 7% interest per week and that the invested funds
             would be used for Bitcoin activities. Instead, the defendant allegedly used
             bitcoins from new investors to pay existing investors and to pay his personal
            expenses.       Case 4:13-cv-00416-ALM Document 47-1 Filed 06/05/14 Page 2 of 5 PageID #: 933
As with any investment, be careful if you spot any of these potential warning signs of investment fraud:

     “Guaranteed” high investment returns. There is no such thing as guaranteed high investment
     returns. Be wary of anyone who promises that you will receive a high rate of return on your
     investment, with little or no risk.

     Unsolicited offers. An unsolicited sales pitch may be part of a fraudulent investment scheme.
     Exercise extreme caution if you receive an unsolicited communication – meaning you didn’t ask for
     it and don’t know the sender – about an investment opportunity.

     Unlicensed sellers. Federal and state securities laws require investment professionals and their
     firms who offer and sell investments to be licensed or registered. Many fraudulent investment
     schemes involve unlicensed individuals or unregistered firms. Check license and registration status
     by searching the SEC’s Investment Adviser Public Disclosure (IAPD) website or FINRA’s
     BrokerCheck website.

     No net worth or income requirements. The federal securities laws require securities offerings to
     be registered with the SEC unless an exemption from registration applies. Most registration
     exemptions require that investors are accredited investors. Be highly suspicious of private (i.e.,
     unregistered) investment opportunities that do not ask about your net worth or income.

     Sounds too good to be true. If the investment sounds too good to be true, it probably is.
     Remember that investments providing higher returns typically involve more risk.

     Pressure to buy RIGHT NOW. Fraudsters may try to create a false sense of urgency to get in on
     the investment. Take your time researching an investment opportunity before handing over your
     money.

Bitcoin users may be targets for fraudulent or high-risk investment schemes.
Both fraudsters and promoters of high-risk investment schemes may target Bitcoin users. The exchange
rate of U.S. dollars to bitcoins has fluctuated dramatically since the first bitcoins were created. As the
exchange rate of Bitcoin is significantly higher today, many early adopters of Bitcoin may have
experienced an unexpected increase in wealth, making them attractive targets for fraudsters as well as
promoters of high-risk investment opportunities.

Fraudsters target any group they think they can convince to trust them. Scam artists may take
advantage of Bitcoin users’ vested interest in the success of Bitcoin to lure these users into Bitcoin-
related investment schemes. The fraudsters may be (or pretend to be) Bitcoin users themselves.
Similarly, promoters may find Bitcoin users to be a receptive audience for legitimate but high-risk
investment opportunities. Fraudsters and promoters may solicit investors through forums and online
sites frequented by members of the Bitcoin community.
            Bitcoins for oil Case  4:13-cv-00416-ALM
                             and gas.  The Texas SecuritiesDocument     47-1recently
                                                               Commissioner     Filed 06/05/14
                                                                                       entered Page 3 of 5 PageID #: 934
            an emergency cease and desist order against a Texas oil and gas exploration
            company, which claims it is the first company in the industry to accept bitcoins
            from investors, for intentionally failing to disclose material facts to investors
            including “the nature of the risks associated with the use of Bitcoin to purchase
            working interests” in wells. The company advertised working interests in wells
            in West Texas, both at a recent Bitcoin conference and through social media
            and a web page, according to the emergency order.



            Bitcoin trading suspension. In February 2014, the SEC suspended trading in
            the securities of Imogo Mobile Technologies because of questions about the
            accuracy and adequacy of publicly disseminated information about the
            company’s business, revenue and assets. Shortly before the suspension, the
            company announced that it was developing a mobile Bitcoin platform, which
            resulted in significant movement in the trading price of the company’s securities.


Using Bitcoin may limit your recovery in the event of fraud or theft.
If fraud or theft results in you or your investment losing bitcoins, you may have limited recovery options.
Third-party wallet services, payment processors and Bitcoin exchanges that play important roles in the
use of bitcoins may be unregulated or operating unlawfully.

Law enforcement officials may face particular challenges when investigating the illicit use of virtual
currency. Such challenges may impact SEC investigations involving Bitcoin:

     Tracing money. Traditional financial institutions (such as banks) often are not involved with Bitcoin
     transactions, making it more difficult to follow the flow of money.

     International scope. Bitcoin transactions and users span the globe. Although the SEC regularly
     obtains information from abroad (such as through cross-border agreements), there may be
     restrictions on how the SEC can use the information and it may take more time to get the
     information. In some cases, the SEC may be unable to obtain information located overseas.

     No central authority. As there is no central authority that collects Bitcoin user information, the
     SEC generally must rely on other sources, such as Bitcoin exchanges or users, for this type of
     information.

     Seizing or freezing bitcoins. Law enforcement officials may have difficulty seizing or freezing illicit
     proceeds held in bitcoins. Bitcoin wallets are encrypted and unlike money held in a bank or
     brokerage account, bitcoins may not be held by a third-party custodian.

Investments involving Bitcoin present unique risks.
Consider these risks when evaluating investments involving Bitcoin:
                          Case 4:13-cv-00416-ALM
     Not insured. While securities                      Document
                                   accounts at U.S. brokerage firms 47-1   Filed
                                                                    are often     06/05/14
                                                                               insured by thePage 4 of 5 PageID #: 935
                                                                                              Securities
     Investor Protection Corporation (SIPC) and bank accounts at U.S. banks are often insured by the
     Federal Deposit Insurance Corporation (FDIC), bitcoins held in a digital wallet or Bitcoin exchange
     currently do not have similar protections.

     History of volatility. The exchange rate of Bitcoin historically has been very volatile and the
     exchange rate of Bitcoin could drastically decline. For example, the exchange rate of Bitcoin has
     dropped more than 50% in a single day. Bitcoin-related investments may be affected by such
     volatility.

     Government regulation. Bitcoins are not legal tender. Federal, state or foreign governments may
     restrict the use and exchange of Bitcoin.

     Security concerns. Bitcoin exchanges may stop operating or permanently shut down due to fraud,
     technical glitches, hackers or malware. Bitcoins also may be stolen by hackers.

     New and developing. As a recent invention, Bitcoin does not have an established track record of
     credibility and trust. Bitcoin and other virtual currencies are evolving.


            Recent Bitcoin exchange failure. A Bitcoin exchange in Japan called Mt. Gox
            recently failed after hackers apparently stole bitcoins worth hundreds of millions
            of dollars from the exchange. Mt. Gox subsequently filed for bankruptcy. Many
            Bitcoin users participating on the exchange are left with little recourse.

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Before making any investment, carefully read any materials you are given and verify the truth of every
statement you are told about the investment. For more information about how to research an
investment, read our publication Ask Questions. Investigate the individuals and firms offering the
investment, and check out their backgrounds by searching the SEC’s IAPD website or FINRA’s
BrokerCheck website and by contacting your state securities regulator.

Additional Resources
SEC Investor Alert: Ponzi Schemes Using Virtual Currencies

SEC Investor Alert: Social Media and Investing – Avoiding Fraud

SEC Investor Alert: Private Oil and Gas Offerings

SEC Investor Bulletin: Affinity Fraud

FINRA Investor Alert: Bitcoin: More Than a Bit Risky

NASAA Top Investor Threats

IRS Virtual Currency Guidance
European Banking AuthorityCase 4:13-cv-00416-ALM
                          Warning                  Document
                                  to Consumers on Virtual      47-1
                                                          Currencies        Filed 06/05/14 Page 5 of 5 PageID #: 936
Contact the SEC
Submit a question to the SEC or call the SEC’s toll-free investor assistance line at (800) 732-0330 (dial
1-202-551-6551 if calling from outside of the United States).

Report a problem concerning your investments or report possible securities fraud to the SEC.

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